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 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     428 J Street, Suite 350
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     WALDO PEREZ-MENDOZA
 6

 7

 8                               UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        Case No.: 2:11-CR-076 JAM

13                 Plaintiff,

14   vs.                                              REQUEST FOR ORDER AND ORDER
                                                      EXONERATING BOND
15
     WALDO PEREZ-MENDOZA,
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                   Defendant.
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21          Defendant Waldo Perez-Mendoza (hereafter referred to as “Mr. Perez”) is presently
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     serving a 24-month sentence for Misprision of a Felony following entry of a plea pursuant to a
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     written plea agreement. He was sentenced on June 16, 2015 (Docket Entry 190 – Minutes for
24
     Sentencing). A Judgment and Commitment Order was filed in this action on June 17, 2015
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26   (Docket Entry 189).

27
     REQUEST TO
28   EXONERATE BOND
              Case 2:11-cr-00076-JAM Document 210 Filed 04/05/16 Page 2 of 3


 1           Prior to entry of a guilty plea, Mr. Perez had been released on pre-trial conditions,
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     including the posting of a $200,000 appearance bond secured by the available equity in the home
 3
     of his brother Salvador Perez-Mendoza located at 105 Chaparral Street, Salinas, California
 4
     (hereafter referred to as “the Chaparral residence”).
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 6          Given the resolution of this case and Mr. Perez’s subsequent surrender for service of his

 7   sentence, it is requested that the secured bond for the Chaparral residence be exonerated and that
 8
     the Clerk of the District Court be directed to re-convey back to the Surety or Trustor any
 9
     applicable Deed of Trust and Promissory Note.
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12   DATED: April 4, 2016
                                                             By   /s/ Todd D. Leras
13                                                                TODD D. LERAS
                                                                  Attorney for Defendant
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                                                                  WALDO PEREZ-MENDOZA
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     REQUEST TO
28   EXONERATE BOND
              Case 2:11-cr-00076-JAM Document 210 Filed 04/05/16 Page 3 of 3


 1                                                ORDER
 2
             IT IS HEREBY ORDERED that the $200,000 Bond secured by the available equity
 3
     through a deed of trust and promissory note for the property of Salvador Perez-Mendoza located
 4
     at 105 Chaparral Street, Salinas, California is hereby exonerated. The Clerk of the District Court
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 6   is further directed as soon as practicable to re-convey back to the Trustor the Deed of Trust and

 7   Promissory Note securing the Bond.
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 9
     DATED: April 5, 2016
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12                                                     /s/ John A. Mendez
                                                      HONORABLE JOHN A. MENDEZ
13                                                    UNITED STATES DISTRICT JUDGE
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     REQUEST TO
28   EXONERATE BOND
